881 F.2d 1069Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wilbert Albert Andrew ALLEN, Sr., Plaintiff-Appellant,v.Lacy H. THORNBURG, North Carolina Attorney General, BruceSandspree, Department of Social Services, DebbieGatto, Winston-Salem Police Department,Defendants-Appellees.
    No. 89-7596.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 30, 1989.Decided July 25, 1989.
    
      Wilbert Albert Andrew Allen, Sr., appellant pro se.
      Howard Edwin Hill (Office of the Attorney General of North Carolina) for appellee Thornburg,
      Allan R. Gitter (Womble, Carlyle, Sandridge &amp; Rice), for appellee Sandspree, Mary Claire McNaught for appellee Gatto.
      Before PHILLIPS and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Wilbert Albert Andrew Allen, Sr., appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action.  Appellant's action was referred to a magistrate pursuant to 28 U.S.C. Sec. 636(b)(1)(B).  The magistrate recommended that relief be denied and advised appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, appellant failed to object to the magistrate's recommendation.
    
    
      2
      This Court has held that the timely filing of objections to a magistrate's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.    Wright v. Collins, 766 F.2d 841 (4th Cir.1985);  United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).    See Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.
    
    
      3
      We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      4
      AFFIRMED.
    
    